 

-.A. ._...._.. --_____ .

. . . . _ _ - ' A . hl_ `l
. Case 5:14-cv-OO431-WLS Document !&|T|ec@/l\l\l®|% ~ 1 of 55

w IN 'I'HE STATE COURT OF FULTON COUNTY ----_-_»
' STATE OF GEORGIA
LINDA BULLARD, IND:vaAJ_l.Y AND As . , -. , f.- ."__'_“`L _
’I`HE ADM£NISTRATOR oFTHEEsTATE OF . - ~ - - ---_ --~_-
W!LLLAM O. BULLARD, III, ' ' " ‘
Plaintiff, Civii Action ' ` ' " ` "`-" -“"'"i"'_"
v.
BRYCO ARMS, INC., a/k/a BRYCO Aams, __ _' '_ _ __ _ __
BRYCO ARMS, ___ ` ` ‘ " `
B.L. JENNINGS, lNc., :" . _ ‘ , _ _ _ _ _ _
~ BRUCE L. JENNDIGS, - 1 _ _\ _ W;_'__ ‘. 'i .__';_i
JAN_ICE JENNINGS, ' - _
BRADLEY JENNINGS,_ ' "'=~"
KIMBERLY JENNINGS,
RHONDA JENNINGS, ' _ -.'
BRADLEY JENNINGS NEVADA 'I`RUS'_I`, _ . _ _ __ -__ ___ _'____'___

K.IMBERLY JENNINGS NEVADA TRUST,
' RHONDA JEN_NINGS NEVADA TRUST, \ `
" RKB INVESTMENTS,
. ABC CORP., XYZ CORP.,
JOHN/JA.NE DOE . _ . .. . ...- ' `
'- - GRAY HIGHWAY PAWN, INC. ` " _ __ ' "‘":_.~'"-`" _"'j‘T "
D/B/A SHuRLINGToN JEWELRY AND PAwN,
and RONALD RICHAR.DSON
Defendants.

 

 

coMPLAINT FoR DAMAGES . g §.`__;§._

 

NOW COMES LINDA BULLARD, natural mother and guardian of Williarn O. lBullard,

_ IlI, a minor child now deceased, and for herself and as Administrator of the Estate of Wiiliam O.-

Bulla_rd, III, files this action for damages as follows:

$.

Page l of 55

 

 

 

\

 

 

ease 5:14-cv-00431-WLS Documem - ire "2/{1/1(4:€?€§{\2 of 55

l.

Dei`cnd_ant BRYCO ARMS, lNC., a/io'a, BRYCO ARMS, (hereinal`ter referred to as
“BRYCO ARMS, lNC.“) is a sole proprietorship, and/or partnership, and/or corporation, and/or
other business entity transacting business in the State of Georgia, with a principal place of
business and/or offices at 380 Clinton Street7 Costa Mesa, Caiiforni:i 92626. Defendant has, at
all relevant timcs, failed to obtain authority from the Secretary of State of the State of Georgia to -

transact business in Georgia.

2.

Defcndant BRY'CO ARMS is a sole proprietorship, and/or partnership, and/or
corpo'ration_, and/or other business entity transacting business in the State of Georgia, with a
principal place of business and!or of`iiccs at 330 Ciinton Street, Costa Mesa, Calii`ornia 92626.
Def`endant has, at ali relevant times, failed to obtain authority from the Secretary of State of the

State Oi" Georgia to transact business in Gcorgia.

3.

Del"endant JENNINGS FIREARMS, INC. (hercinai"ter referred to as “JENNINGS
_I"IREARMS CALIFORNIA")`iS purportedly a California Coiporation transacting business in the-
Stntc ol` Georgia, with a registered .agent for service of process, Gary Genske, at 12960 Center
Avenue, Chino, Czilifornin 9171(). Dcl"endnnt has, at all relevant timcs, failed to obtain authority

from the Secretaiy ol`State oi`tiic Stute 01` Georgitt to transact business in Georgin.

s
3

Pngc 2 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Filed 12/11/14 Page 3 of 55

4.

Del`endant JENNINGS FIREARMS, INC., (liereiual"ler referred to as ‘JENNINGS
FIREARMS NE\lADA”) is purportedly a Nevada Corporation transacting business in the Statc
ol` Georgia, with a principal place of business andi'or offices and/or agent for service of process
by and through it’s president, BRUCE JENNINGS, at 3680 Research Way, #l, Carson City,
Nevacla 89706. Defendant has, at all relevant tinies, failed to obtain authority i`rom the Secretary

of State of tlie'State ol"Georgia to transact business in Georgia.

5.

Del`endant B.L. JENNlNGS, lNC. is purportedly a Nevada Corporation transacting
business in the State of Georgia, with a principal place of business andfor offices auditor agent
for service of process by and through it’s president, BRUCE JENNINGS, at 3680 Research Way,
#l, Carson City, Nevada 89706. Del`endant has, at all relevant times, failed to obtain authority
from the Secrctaiy of State of the State of Gcorgia to transact business in Georgia and has failed,

at all relevant times, to maintain a registered agent for service of process in Georgia.

6_
Defendant BRUCE L‘. JENNINGS is an adult individual transacting business in the
State ol` 't_`)eorg',ia1 residing at, and!or with a principal place of business and/or offices at 3680
Research Way, iil, Carson City, Nevada 89706. Defendant has, at all relevant tiines, failed to

obtain authority t`roni the Secretaiy ol` Statc of the Statc of Geoi'gia to transact business in

\‘..-.`r

G'eorg£ia.

l’age 3 ol` 55

Case 5:14-cv-OO431-WLS Document 1-1 Filed 12/11/14 Page 4 of 55

____ .
Defendant JANICE JENNINCS is an individual transacting business in the State of

Georgia, residing at, and/or with a principal place of business and/or offices at 5435 Dover

Street, Chino, California 91710. Defendant has, at all relevant tiiues. failed to obtain authority

from the Secretary of State oi`the State ot`Georgia to transact business in Georgia.

8.

Del`endant BRADLEY JENNINGS is an individual, transacting business in the State of
Georgia, residing at, and/or with a principal place of business and/or offices in care of his parent
and natural guardian, .IANICE JENNINGS, at 5435 Dover Street, Chino, Caiifornia 91710.
Det`endant has, at all relevant times, failed to obtain authorityli`roni the Secretary of State of the

State ofGeorgia to transact business in Georgia.

9.
Del;eiidati't KIMBERLY JENNINGS is an individual, transacting business iu the State
ol` Georgia, residing at, and/or with a principal place of business and/or offices in care ot` her
parent and natural guardian, JANICE JENNINGS, at 5435 Dover Street, Chino, Caliiornia
91710. Dci"endant has, at all relevant times, failed to obtain authority from the Secretaiy ot`State

of the State of Georgia to transact business in Georgia.

5 ' l().

Page 4 of 55

ease 5:14-cv-00431-vvl_s Documeni lC=ilCd/le_t/t¢i@§ga€a of 55

Dei`cndant RIIONDA JE_NN INGS is an individual_. transacting business in the State of
Georgia, residing at, and/or with a principal place of business and!or offices in care of her parent
and natural guardian, _lANlCE .FENNINGS, at 5435 Dovcr Street, Chino,' Califoriiia 91710.
Defendant has, at all relevant tiines, failed to obtain authority from the Sceretaiy oi`State of the

State of Georgia to transact business in Georgia.

ll.

Del"endant RIIONDA .IENNINGS NEVADA TRUS'I` (hei'einafter referred to as
“RHONDA .lENNfNGS TRUST") is a sole proprietorship, and/or paitiiersliip, andfor
corporation, and!or other business entity, and/or trust fund, transacting business in the State of
Georgia, with a principal place of business and/or offices and/or agent for service of process in
its trustee, JANICE JENN fNGS, at 5435 Dovcr Street, Chino, California 91710. Defendant lias,
at all relevant timcs, failed to obtain authority front tlie Secretary of State of the State of Georgia
to transact business in Georgia.

|'_7..

Dcfendant Kll\/IBIERLY .IENNINGS NEVADA 'I`RUS'I` (hereinaftcr referred to as
“KIMBERLY JENNINGS TRUST”) is a sole proprietorship, and/or partnersliip, and/or
corporation, and/or other business cntity, and/or trust fund, transacting business in the State of
Gcorgia, with a principal place of business and!or offices and/or agent for service of process in
its trustee_. JANICE JEN_NINGS, at 5435 Dovcr Street, Chino_ California 91710. Dcl`endant lias_.

at ;i_ll relevant tinics, failed to obtain authority front the Seeretary ol"State of the State ofGeorgia

l’agc 5 of 55

Case 5:14-cv-OO431-WLS Document 1-1 F"rleeti~Z/Etl/i'¢-‘ Page 6 of 55

to transact business in Gcorgia.

"\

l.).
Defendant BRADLEY .IEl\lNlNGS NEVADA TRUST (liercinal"ter referred to as
“B RADLEY .IENNINGS TltU S'.l"’) is a sole proprietorship1 and/or partnership, and/or
eorporation, and for other business entity, and/or trust fund, transacting business in the State of
Georgia, with a principal place of business and/or offices and/or agent for service ol` process in
its ti'ustec, JANICE .IENNINGS_, at 5435 Dovcr Street_. Chino, Calil"ornia 9171(). Dcfeiidant lias,
at all relevant tiines, failed to obtain authority from the Secretary of State of the State of Georgia

to transact business in Georgia_

14.

Dei`enclant RKB INVESTMENTS (liereinal"tei‘ referred to as“RKB“) is a sole
proprietorship, and/or partnership, and/or eorporation,’ and/or other business entity transacting
business in the State of Georg,ia, with a principal place of business and/or offices at 3 Crestwood,
Newport Bcaeli, Calil`orriia 92660. Det`endant has, at all relevant tiines_. failed to obtain authority
train the Secretaiy of State ofthe State ofGeorgia to transact business in Gcorgia.

lS.

Det`endants ABC CORP., XYZ, CORP. and .]OHNIJANE DOI£ are organizations and/or

individuals_. the legal name of which is heretofore unknown, participating in the design,

' " ` ~ 1 a o l - .
manufacturing distributing wholesaling and iiitii'ketiiig of the product as herein alleged

l’agc 6 of 55

Case 5:14-cv-OO431-WLS Document 1-1.....F_iteci;|.2/ll[l4.' Page 7 of 55

l’laintit`l`sliall amend this Coniplaiut seasonany to include more specific allegations upon proper

disco very.

l().
Dei`eudaut CRAY I~IIGHWAY PAWN, INC. d)'b/a Sliurlington .Icwclry and Pawn is

a corporation of the State of Georgia and is subject to thejurisdietion of this Court.

17.
Defendant RONALD RICHARDSON is a resident ol" the State ol`Georgia and

Jurisdiction is proper before this Court.

18.

At all times relevant herein and material hereto, Defcndaiits, BRYCO ARMS, INC.,
BRYCO ARMS, _tENNlNGS FIREARMS CALlFORNl/-\, JENNINGS FIREARMS NEVADA,
B.L. JENNlNGS, INC., BRUCE L. JENNINGS, JANICE JENN[NGS, BRADLEY iENNINGS.
KiMBER-LEY JENNINGS, RI~IONDA JENNINGS, ItI-IONDA JENNINGS "l`RUST,
K]MBERLY JENNI'NGS 'l`RUS'l`, BRADLEY .IENNINGS, and RKB Were transacting business

in the State of Georgia.

19.
At all times relevant herein and material hereto, the activities of the clel`endants, BRYCO

t .
ARMS,'INC.. BRYCO AR]\/IS, .IENNI'NGS FIREARMS CALIFORNIA, JENNINGS

l’age 7 r)l` 55

.-¢4 .. -_... .. .

- easeeaeei…imeni;i_t_su.en 1211/maj- aoe 8 of 55

riaEARi\/is NEVADA, B.L. JENNiNGs`, rN_c., sauce L. JENNINGS, JANICE JENNINGS, _ ;._ _`
BR'ADLEY J'ENNINGS, i<;iMissRLY JENNrNcs, RHONDA JsNNiNGs, RHONDA
rsNNrNGs rausr, Krivissar.v isNNiNGs rausr, BRADLEY JENNrNcs raus'r, mid/or

RKB, in the State of Georgia were continuous and substantial.

_ 20. _

At all times relevant herein and material hereto, Defendants BRYCO ARMS, INC.,

BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA,
B. L. JENNII\IGS, INC., BRUCE L. JENNINGS, JANICE jENNH\iGS, BRADLEY JENNINGS,
KHV[BERLEY Ii:`,NNINGS, RHONDA JENNINGS, RHONDA JENNINGS T_RUST,
_KIMBERLY JENNINGS TRUST, BRADLEY JENNIl\lGS TRUST, and R.KB,`eontracted to'

supply services or products in the State of Georgia.

21.

1

- 1

At all times relevant herein and material hereto, Defenclants BR.YCO ARMS INC.,

 

BRYCO ARMS, JENNH\TGS I`IREA.RMS CALIFORNIA, JENNINGS FlR_EARMS NEVADA,
B.L. JENNINGS, INC., BRUCE L. JENNINGS, JANICE JENN]NGS, BRADLEY _.TENNTNGS,__
KIMBERLY JENNlNGS, RI-IONDA JENI\_IINGS, RHONDA JENNINGS '_I`RUST, KIMBERI:YE \-‘:~‘".~,
JENNINGS TRUST, BRADLEY JENNINGS TRUST, R.KB,-AMS, caused harm er tortuous

injury in the State of Georgia by an act or omission outside the State.

22.

Page S of` 55

_._9359_5;14 C\/_nna'z'l_\/\/l Q Document__l;l\..--

 

:.1,-;,2-,111/14-: Page 9 of 55

At all times relevant herein and material liereto, Det`endants BRYCCi ARMS, I-NC-,
BRYCO ARMS, JENNIi\lGS F[REARMS CALIl-`ORNIA, JENNINGS FLREAR.MS l\`IE,‘il'l‘tDi¢til
B. L. JENNINGS INC., BRUCE L. JENNINGS, J'ANlCE JENNINGS, BRADLEY JENNINGS,
KIMBER.LY lENNINGS, RHONDA JENNINGS, RI-IONDA JENNINGS TRUST, KlMBERl`_.Y
JENNII\lGS TRUSTi BRADLEY JENNINGS TRUST, and/or RKB, caused harm or tortuous in '

injury in the State of_Georgia _by an actor omission within the State of Ge_orgia.

ii

' 2a
At all times relevant herein and material hereto, the Defendants, BRYCO ARMS, lNC.,'
BRYCO ARMS, JE_N`NINGS Firearins CALIFOR.NIA IENN]NGS FIREARMS NEVADA,.
--B. L JENNH\J(_JS, INC., BRUCE L. JENNINGS, JANICE IENNIN_GS, BRADLEY JENN}`NGS,
KIMBER_LY IENNH\IGS, RHONDA JENNLNGS, RHONDA JENI`iINGS l'I'RUS'I`, KIMBER.LY
IENNINGS TRUST, BRADLEY JEN;NINGS' TRUST, and/or RKB, regularly conducted

business in the State of Georgia. _, ` ~`
24. `

‘).

Def`endant GRAY HIGHWAY PA-WN, lNC. d/bfa Shurlington Iewehy and Pawn is a

joint tortfeasor and venue is proper in this Court. At all relevant times, Defendant t}RAY

~r‘
-v

.,`;.'“.'»'_, ,

HIGHWAY PAWN, INC. Was a Georgia corporation Jurisdietion is proper before this Court. §§

25.
Defendant RONALD RlCl-IARDSON is ajoint tortfeasor and venue is proper before this

. ¢. ‘ .
Court. At all relevant tiineS, Defendant RONALD RICHA_RDSON was a resident of the State of

Page 9 of 55

_""_CB.'S`GF5 TIITCV-OO431-WES*SUCUWEW_FH%H2HH4-“M --"---_.-

Georgia and jurisdiction is proper before this Court.

26._
int all times relevant herein and material hereto, the actions and inactions of D-et"endants-
BRYCO'ARMS, H\IC., BRYCO AliMS, IENNINGS FiREARMS CALIFORNIA; Jl'Il\ll\Iil\l.GSv .`.1~
FIREAliMS NEVADA B. L. J'ENNINGS, INC., BRUCE i.. JENNH\I(_}S_ JANlCE IENNR\TGS,;_ _`

BRADLEY JENNINGS, KIMZBERLY .lEl\INlNGS, Iii-iOl\lDA JENNINGS: RHONDA

 

IENNINGS TRUST, KIMBERLEY .TE_NNI`NGS TRUST, BR_ADLEY JENN[NGS TRUST,' ` ' _

27.

  

At all times relevant herein and material hereto, Defendants BRYCO ARMS, IN_C-.-, -- :-

BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA,' J`ENNINGS FIREARMS NEVADA

  

l KiMBERLY JENNINGS, RHONDA JENNINGS RHONDA IENN]NG_S TRUST,

KIIVIBERLEY JENNINGS TRUST, BRADLEY .lENNINGS ',i`IiUST and/or RKB were acting t ..`.

as aforesaid and/or individually, and/orjointly, aiidfor in joint venture, and/or as distributors~--~-'~-"£_";"-":-

and/or as sellers and/or as successors of the other Defendaiits, and/or as agents, servants`°_"__'=-____"_.-"~*-”j;“"

 

workmen and/or employees of each_of the other Defendants, within the course and scope of their ` `

§ authority, and/or employment for and on behalf of said Dei`endants.

Page 10 of 55

.F-_\_

At all times relevant herein and material hereto, Defendants BRYCO ARiviS, INC., l
BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, .iEleINGS FIREARMS NEVADA
B. L }'_ENNINGS, INC-, BRUCE L. JENNINGS, JANICE JENNINGS, BRADLEY JENNINGS`,

KIMBERLY JENNTNGS, RHO_NDA JE_lslslNGS, RHONDA JEl-slsBsGS TRUST,

- 1 KIMBEiiLEY ._iElelIsGS 'I`RUST, .§RADLEY JENNINGS TliUST, and/or R_KB were

uninsured

 

29. -
fAt all tirnes relevant herein and material hereto, Defendants BRYCO ARMS, INC.,
BRYCO AliMS, JENNHsGS FIREARMS CALIFOiiNLA; JElells_GS FIREARMS_ NEVADA,

B..L JENNINGS, INC., BRUCEL JEhiNIlsGS, .iANiCE IENNINGS BRADLEY JENNINGS,

i(lMBERLY JEN'NINGS,` RHONDA JENNINGS, R.HONDA JENNINGS TRUST,

--- --.- .- - _...-,_,,.l__,,,.__.

KIMBERLEY JENNiNGs TRUsr; BRADLEY JENNINGS TRUST, and/or RKB w¢re `

undercapitalized .` ' . ‘ ' . __ __'_-

30.
At all times relevant herein.and material hereto, Defendants BRYCO ARMS, INC., .

BRYCO ARMS, JENNINGS FIREARMS CALUEORNLA, JENl\ilNGS FIREARMS NEVADA,--- .

B.L. JENNINGS, INC.', BliUCE L. JENNINGS, JANICE .TENNINGS, BRADLEY JENNINGS, "

Page ll of 55

Case 5:14-cv-OO431-WLS Document 1-1 Filed 12/11/14 Page 12 of 55

_/

- KMBERLY JENN[NGS, liHQNDA JENNTNGS, RHONDA iEleilsGS TRUST - '
KIMBERLEY JENNINGS 'I`liUST, BRADLEY JENNINGS TRUST, and/or RKB failed to have

established a self-insurance fluid for payment of personal 1njury claims and judgments

At all times relevant herein and material hereto, Defendant JANICE JENNllsGS was the

~..e .-._.“...\_:m
--- -- ..... »._..__.. _

` ~ eX-wire efoerenaencsnucst JEI~g§rNGs § 7 * _ ' ` j_ -___;_'__

32_
At all times relevant herein and material hereto, Defendants RHONDA J'ENNHsGS,
AI<H*”LBEI'UN JENNINGS, end BRADLEY JENNn~IGs, were the enlaren of nefeedems BRUt:s""5`5"“"

L. IENNBsGS and JANICE JENNINGS.

' 33.
At all times relevant herein and material hereto, Defendants BRUCE L. JEle]l\iGS 555 55_"`5

JANICE iENNINGS, BRADLEY JENNINGS, KIMBER‘LY IENNINGS, Rl-lONDA

_ JENNINGS, lii-IONDA_ JENNINGS _TRUST; KIMBERLEY JENNINGS TRUST,_and/_or
BRADLEY JElsNINGS TRUST, were officers, directors, chairmen, sole`shareliolders, majorith _ 7
shareholders, and/or shareholders of, and/or were in control and/orjoint control of the n
nereedeme, armco AaMs, INC., savco AaMs, JENNiNos FIREAaMs cALrFo_R§LA, " '
JENNINGS FIREARMS NEVADA, B.L. JENNINGS, I`NC.,and/or RKB.

l

Page 12 of 55

and/or straw officers, directors, and/or cliairrnen.

151151~:A151v13 NEvADA aaa/ora L. JENNINGS INC., were 3111111>11111 orf, 111111/1>1 111V111111 10

Case€:' 14- -C\/- -00431- WLS Documem~l. l_. ___`

Page. 13 11155

 

 

434.
At all times relevant herein and material hereto, Defendants BRYCO ARMS, INC.,
BRYCO ARMS; .TENNINGS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA,
and/Or-B. L. JENNINGS, INC. ,-failed to pay dividends, failed to observe corporate forrnalities,_ __; \

were insolvent, failed to keep corporate records, and/or maintained non-functioning and/or false __, "':"""

 

§r

35.

At a_ll times relevant herein and material hereto the corporate entities of the D_efendants,

BRYC_O ARl\/lS, INC., BRYCO A_RMS, IENNINGS_ FIR.EARMS CALIFORNIA, JENNINGS

FIREARMS NEVADA, B. L. JENNINGS, INC., and/or and!or RKB were used by the ~

JENNI'NGS family Defendants wrongfully, illegally, fraudulently, unjustly, inequitably, and/or" "-'"~_5":"'

intentionally to avoid liability for and/or payment of Judgments 111 products liability law-suits, `

civil law suits andfor personal injury lawsuits arising from defective products manufactured

distributed and/or sold by the Defe_ndants. _ ' ,

365 ' ` '--'~:“__`1' 5~...._.. '
§§ -=:‘.;

At all times relevant herein and material hereto, the funds and/or assets of the Dei`endants,~;,._.,:.:'_.:___.T_..4

BRYCO ARMS, INC., BRYCO ARMS, JENNINGS FlREARl\/IS CALIFORNIA, JENNINGS n

 

.... _. ._.. _"1___

 

and/or‘commi_ngled witli, the personal funds and!or assets of Defendants BRUCE L. .lENNll\IGS,"_:._.;.._;__;:";

JANICE JENNINGS, BRADLEY JENNINGS, KIMBERLY IENNINGS, RHONDA

l’ag,e 13 of 55 ' -~ “-‘-H-r-~».~-~»-»

__ ._;...»..-.-'_- _.- .1..._

' mere alter ego of the Defenda_nt BRUCE L_. JENNINGS.

_ _ gage 5;1¢1-¢\1-00¢121_W| § Document 1-1 _FM£/;Ll/M_. Page 14 of 55

\JENNn\IGs~, Rt-loNDA J_ENNH\'IGS_‘ TRUST, lI<'.IrvnsER;r.'~r JENNINGS TRUST, BRADL_EY

lENN[NGS TRlJST and!or RKB, for their own'personal use and/or benefit, and/or in an effort to
“ wrongfully illegally, fraudulently, unjustly, inequitably andjorlintentionallj.avoicl liability foti

and/or payment of judgments in precincts liability laiN suits, civil law suits, and/or personal injury
` lawsuits against Defendants, BRYCO AR.MS, INC., BRYCO ARMS, JENNINGS FIR.EAMS
`CALIFORNLA, JENNU\IGS FIREA.RMS NEVADA, and/or B. L. JENNINGS, l`NC.. n \
iv
37.
At all times relevant herein and material hereto, Defendant BRlthE L. JENNINGS was in; - x
control and/orjoint control of Defendants-BRY¢O ARMS, INC., BRYCO ARMS, JENNU\IGS--: ‘ w

FmEARi\/is CALIFORNIA, JENNINGS FLREARMS NEVADA and/or B. L. JENNI_NGS

 

.._...___ ..__.__._ __._____

INC.,` and used that control and/or the corporate assets to further his own personal interests such_

that BRYCO ARMS ,.,lNC BRYCO ARMS, JENNINGS FIREARMS CALIFORNL¢\.,

JENNINGS FIREARMS NEVADA, and/orB. L. JENNINGS, INC. are sham coiporations and a __ _‘ _ _

 

33- 4 ` '_ `;_ _‘_'"`_.__,.,_.§f~`_"_"

 

At all times relevant herein and material hereto, Defenclant JANICE JENNINGS Was in 1“_

controland/Orjoimconuoiarnett-name BRYco A_RMS, INC., BRYco ARMS JENNINGs ”

 

.. FIREARMS CALIFORNIA, JENN]NGS FIREARMS NEVADA, and/or B. L._ JENNINGS,

INC., and used that control and/or the corporate assets to further her own personal interests such

‘ .
that`BRYCO ARMS, INC.,BRYCO AR.MS, JENNINGS FIREARMS CALIFORNIA,

Page 14 ol` 55 ' "‘ '

 

 

 

 

   
    
 

 

 

(` JEN_NINGS FIREARMS NEVADA, and/orB. L. JENNlNGS, lNC. are sham corporations and _a_ ~“ji”“__

 

mere alter ego of Defendant JANICE JENNINGS.

39.'
At all times relevant herein and material hereto, Defendant'BRADLEY JENNINGS '

-- --_.~ mclrv1dually and/or by and through _b.is parents, BRUCI_:`._ L. JENNINGS and/or JANICE

--------.~~_ JEI\U\IINGS, was in control andj_orjomt control of Defendants BRYCO ARMS, INC_.,- BRYCO¢--

A_RMS, JENNll\IGS FIREARMS CALIFORNIA, IENNlNGS Fll{EARMS NEVADA, and/or B

L. IENNINGS, _INC.`_, and used that control andfor the corporate assets to farther his own ____ __ n n

personal rnreresesuchumrsiwco AR`MS t`Nc., B`RY'co ARMS JENNn‘\iGs FIREARM

 

CALIFORNL¢X, JENNINGS FIB.EARMS NEV_ADA, and/or B. L JENNINGS, INC. are sham v --_-:. »

( ._ ,._`. `_'_ " " ` ::` f_T::

` 1 -* -» ---;- corporations and a mere alter _ego oi` Defen_dant BRADLE§§ J'_ENNINGS._ '

 

_"___` n _____A_t all times relevant herein and material hereto, Defendant KIMBERLY .1 ENNINGS 7 _

 

 

 

_“"_ M_"=“ indwidually and for by and throngli liéf_ parents BRUCEL'"JENNTNGS'andJor-JANI€P,-_-_m

     
 

 

1 NNTNGS was in control and/orjomt control of Defendants BRYCO _'- _; _-_~=__ _ §§

 

L. J`ENNINGS, INC. and used that control and/or the corporate assets to iiirther her own personal

' ' interests such that BRYCO ARMS, INC., BRYCO ARMS, JENNINGS FIREARM_S

  
 

-.cALIFoRNLA, JENNJNGS FLREAaMs NEVADA And/ora. L. JENNINos inc gresham “

' corporitions and a mere alter ego of Defendant KIMBERLY JENNINGS.

 

Page 15 of 55

 

CaSe 5114'CV'-OQ431:WLS ..DOCurnent._l_-_l .F,iI-ea_tz/.ll/l¢t »Paoe 16 of 55

41.

At all times relevant herein and material hereto,'Defendant RI'IONDA JENNING_S,
individually and/or by and through her parents, BRUCE L. JENNINGS and/or JANICE
.1 ENNINGS_, was in control and/orjoint control of the Del`endants, BRYCO ARMS, iNC.,
BRYCO ARMS, JEl\_lNINGS FIREARMS CALIFCRNIA, J'ENl\lINGS FIREARMS NEVADA,
and/or B. L. JENNINGS, INC., and tised that control and/or the corporate assets to further her n l
own personal interests such that BRYCO ARMS, INC., BRYCO ARMS, JENNINGS
FIREARMS CALIFORNIA, JENNINGS lilREARI\/lS NEVADA, and/or B. L. JENNINGS, INC.

are sham’corporations and a mere alter ego of Del`end_ant RHONDA JENNINGS.

42.
At all times relevant herein and material hereto Defe_ndant JANICE JENNINGS was the
trustee of the Del"endants Rl-IONDA lENNlNGS TRUST, KIMBERLY JENNINGS TRUST, and

BRADLEY .1 EN.NYNGS TRUST.

43.

At all times relevant herein and material hereto, Defendant RHONDA JENNINGS "`*: - 1

TRUST, by and through RI-`IONDA .1 ENNINGS and/or its trustee, IANlCE JENNINGS, was in

control and/orjoint control of Defendants, BRYCO ARMS, INC., BRYCO ARMS, JENNINGS
FIKEARMS CALIFORNIA, JENNlNGS FlREAlMS NEVADA, and/or B. L. JENN]NGS,

. 5.
I`NC., and used that control andjor the corporate assets to further the personal interests of

Page 16 of 55

- Case-5:14-cv-OO43.1-WLS. Document._'t= ._

 

_ __ -=___Page_l? _0.f..5.`5H __ . .. .. _

RHONDA JENNINGS '1`RUS'1` and/or RHONDA JENNINGS and/or the interests of the
beneliciaries ol" the said trust such that BRYCO AthS, iNC., BRYCO ARMS, JENNTNGS
FIREAR.MS CALIFORNIA, JENNINGS FIREARMS NEVADA, and/or B. L- JENNINGS, UC
are sham corporations and a mere alter ego of Deiendaiit RHONDA JENNlNGS TRUS'§ and/_or
RHONDA JENNINGS, and/or ol` the beneficiaries of the trust.

44.

At all times relevant herein and material hereto_, Defendant KIMBERLY JENNI_NGS
'I`RUS'I`, by and though lillle ER,I_EY .1 ENNIN GS and/or its trustee, JAhllCE JENNINGS, was
in control and/orjoint control of Defendants BRYCO ARMS, iNC., BRYCO ARMS,
JENNINGS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA, and/or B. L.
JENNINGS, lNC., and used that control and/or the corporate assets to further'the personal
interests of KIMBERLEY JENNINGS TRUST and/or KIMBERLY JENNINGS and/or the
interests of the beneficiaries of" the trust such that BRYCO Ptl{MS, INC., BRYCO ARMS,
JENNINCiS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA; and/or B. L
JENNINGS, INC. are sham corporations and a mere alter ego of Defendant Kli\/IBERLY

JENNINGS TRU ST and/or K.ll\/lBERLY JENNl`NGS and/or of the beneficiaries of the trust `t-

45.
At all times relevant herein and material hereto, Dei`endant BRADLEY JENNIN,GS
‘ .
TRUST, by and trough BRADLEY .1 ENNIN GS and!or its trustee JANICE JENNINGS, was in

control and/orjoint control of Defendants BRYCO ARMS, INC., BRYCO ARMS, JENNIN GS

l’agc 1'7 of 55

/_"'\l

Case 5:14-cv-OO431-WLS Document 1-1 Filed= 1:-2/-11/14 »Page 18 of 55

FIREARMS CALIFORNIA_. JENNINGS I"IR.EARMS NEVADA, and/or B. L. JENNINGS,
INC., and used that control and/or the corporate assets to further the personal interests of
BRADLEY lENNlNGS TRUS'I` and/or BRADLEY JENNINGS and/or the interests of the-
bcneflciaries of the trust, such that BRYCO ARMS, ll\lC., BRYCO ARMS, lE`.`-lNiNGS!
FlREARMS CALI["ORNIA, .lENNlNGS FIREARMS NEVADA, and/or B. L. JENNINGS, iNC.
are sham corporations and a mere al:ter ego of Del`endant BMDLEY JEWHJ¢S TRUST, '

and!or BRADLEY JENNINGS and/or of the beneficiaries of the trust.

46.

'At all times relevant herein and material hcreto, Defendant RKB was in control and/or
joint control of Dei`endants BRYCO ARMS, INC., BRYCO ARMS, JENNIN£}S FIREARMS
CALIFORNIA, JI:`.NNINGS FIREAR_MS NEVADA, and/or B.L. JENNINGS, iNC., and used
that control and/or the corporate assets to further its own personal interests such that BRYCO
ARMS, lNC., BRYCO ARMS, lEN`NINGS FlRE/»\RMS CAL_lFORNlA, JENNINGS
FIREARMS NEVADA, and/or B. L. JENNINGS, lNC.' are sham corporations and a mere alter

ego of Defendant RKB.

41 _
At all times relevant herein and material hereto, the corporate fnnds, and!or assets of
Defendants BRYCO ARMS, l'NC., BRYCO ARMS, JENNINGS FIREARMS CALlFORNIA,
`lENNINGS Fll{EARlviS NEVADA, and/or B.L. JENN_INGS, i`NC. were siplioned off by,

depleted by, commingled with the personal l`unds of_. used for the personal benefits of, and/or

Page 18 of 55

Case 5:14-cv-OO431-WLS Document 1-1 F.ilecl 12/11/14 Page 19 of 55

diverted to Def`endants BRUCE L. .IENNINGS, JANICE JENNINGS, BRADLEY JENNINGS,
KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUS'!", KIMBERI,.Y v

JENN[NGS TRUST, BRADLEY JENNINGS TRUS'I` and/or RKB.

48.

At all times relevant herein and material hereto, Defendants BRUCE L. J'ENNINGS,
JANICE JENNINGS, BRADLEY JENNINGS, KIMBERLY JENNINGS, RHONDA
JENNINGS, RHONDA JENNlNGS TRUST, KlMBERLEY lENNB\lGS TRUST and/or
BllADliEY JENNINGS 'l`RUST, acting as aforesaid, were in control and!orjoint control of
Defendant RKB, and used that control and/or the corporate assets to further their own personal
interests.such-that R_KB is a sham corporation and a mere alter ego of the Defendants, BRUCE L.
JENNI`NGS, JANICE JENNINGS`, B.RADLEY JENNINGS, K_IMBERLY JENNH\lGS,

RHONDA JENNINGS, RI~IONDA .lENNINGS TRUST, KlI\/[BERLY JENNINGS TRUS”[`

and/or BRADLEY JENNINGS 'l`RUS'l`.

49.
At all times relevant herein and material hereto, Defendants, RKB, RHONDA
JENNI'NGS TRUST, KlMBERLY JENNH\IGS TRUST, and/cr BRADLEY JENNINGS 'I`RUST n
were created by BRUCE L. JEN'NINGS, JANICE J'ENNINGS, RHONDA JENNINGS,
Kll\/IBERLEY JENNINGS and/ or 13 RADLEY JENNINGS deliberately, wrongfully,,unjustly,
illega¥ly, fraudulently, inequitably, and/or intentionally, to avoid civil liability, products liability,

_ancl to avoid paying products liability and]or otherjudgments for injuries caused by defective

l‘age 19 ol` 55

/`\

Case 5:14-cv-OO431-WLS Document 1-1 Filed-12/11/14- Page 20 of 55

products of Defendants BRYCO ARMS, INC., BRYCO ARl\/IS, .lENNII\lGS FiREARMS

CALIFORNIA, .lENNINGS FIREARMS NEVADA, and/or B.L. JENNI'NGS, INC.

50. .-
At all times relevant herein and material hereto, Defendant JANICE JENNINGS was an

officer and/or shareholder of Defendants BRYCO ARMS,-INC., and/or BRYCO ARMS.

51.
At all times relevant herein and material hereto, the remaining shareholders ot`Det`endants
BRYCO ARMS, lNC- and/or BRYCO ARMS were Del'endants BRADLEY IENNI`NGS
KIMBERLEY JENNINGS, RHONDA JENNINGS and/or Rhonda JENNINGS TRUST,

KlMBERLY JEN`NTNGS 'l`RUST, and/or BR.ADLEY JENNINGS TRUST.

52.
In or about January of 1996, the corporate charter and/or corporate status of the
Defendants BRYCO ARMS, INC.` and/or BRYCO ARMS was permanently revoked by'the state
_ *."

in Which said Det`endants were incorporated

53.
l _ At all times relevant herein and material hereto, as a result of said revocation, Defendants
BRYCO AR_MS, INC. and/or BRYCO ARMS, became sole proprietorships of JANICE

JEN'NINGS, and/or partnerships associations, and/or other non-corporate business entities

h_,_._ ’H‘\ ..l" (-C

Case 5:14-cv-OO431-WLS Document 1-1 Filed .-12/11/1Af - Page 21 of 55

consisting of the individual Defendants .lANlCE JEI\H\IINGS, BRADLEY JENNI'NGS,

' KIMBERLY JENNINGS, RHONDA .lENNINGS, RHONDA JENNINGS TRUST, KIMBERLY

JENNI`NGS TRUST and!or BRA`DLEY J.ENNINGS TRUS'I`. .

54.

At all times relevant to the revocation of the corporate charter and/or status of BRYCO
ARMS, II\lC- and/or BRYCO MMS, Defendants JANICE JENNINGS, BR.ADLE'i’
JBNNINGS, KlMBERLY JENNINGS_,, RHONDA JENNWGS, RHONDA lENNINGS TRUS'I`,
KIMBERLY J'ENNINGS TRUST and/or lBRADLEY JENN[NGS TRUS'I` continued to
manufacture the product line of BRYCO ARMS, INC. and/or BRYCO ARMS, including but not
limited to firearms such as the Product-herein, under the name BRYCO ARMS, INC., and/or

BRYCO ARl\/IS.

55 .

At all times relevant herein and material hereto Defendants BRUCE L. JENNINGS,
JANICE JENNINGS, RHONDA JENNINGS, KIMBERLY JENNINGS, BRADLEY
JENNINGS_. Rl-IONDA JENNNGS TRUST, KIMBERLY JENNINGS TRUST and/or
BRADLEY JENN.I`NGS l`RUS'l` were successors to and/or assumed the liabilities and debts of
Del`endants BRYCO AR.L\'”IS, lNC., and/or BRYCO ARMS. l

‘.
56.

On or about 1T ebruaty 10, 2000 Ms. 'l`il`fany I-lardware purchased a handgun in new

Case 5:14-cv-OO431-WLS Document 1-1 Fila_d.1-2/11/14 . Page 22 of 55

condition from Del`endant GRAY l~llGl-IWAY PAWN, INC. d/b/a Shurlington Jewelry and
Pawn, with Defenclant RONALD R.ICHARDSON acting as the owner, salesperson and as agent

for the corporation

` 57.

'I`his handgun was a .3`80 caliber model “48” (also known as a model “J' 48” )
nianufactured, assembled, tiiai'leeted and/or sold by JENNINGS FIREARMS CALIFORNIA,
JENNINGS FIREARMS NEVADA, and/or B.L. JENNINGS, INC., BRYCO ARMS, INC.
and/or BRYCO ARMS, and/or the sole proprietorships ol" JANICE JENNINGS,- andfor
partnerships, associations, and/or other non-corporate business entities consisting of the
individual Defendants BRUCE L. JENNINGS, JANICE JENNINGS, BRADLEY JENNINGS,
K.IMBERLY JENNINGS, RHONDA JEN`NINGS, RHONDA JENNINGS TRUST, KIMBER.LY-

JENNINGS TRUST, BRADLEY JENNINGS TRUST and/or RKB. Henceforth, this handgun

will be referred to as “tlte handgun” or “the product.“

58_
'l`he handgun was purchased by Tiffany l-Iardware at the specific reconunendation of k

RONALD R.ICHARDSON from GRAY HIGHWAY PAWN, INC. d/b/a Shurlington Jewelry

and Pawn.

59.

jI`iffany l~lardware never discharged the handgun prior to March 25, ?.OOO.

Pagc 22 ot` 55

Case 5:14-cv-OO431-WLS Document1-1 Eil.ads12/11/14-- Page 23 of 55

60.

On March 25, 2000 Tiffany Hardware became aware that the handgun was not
functioning properly and attempted to return the handgun for repair or replacement to GRAY
HIGHWAY PAWN, INC. dfb/a Shurlington Jewelry and Pawn. RONALD RICHARDSON, as
' agent of GRAY HlGHWAY PAWN, §NC_ d/b/a Shurlington Jewelry and Pawn, examined the
defective handgun and instructed Til`l`any I-Iardware to keep the handgun over the weekend and

return with it on Monday.

61.
On or about Saturday, March 25, 2000, 'l`ifl`any Hardware, was using the handgun at her

home at 4515 Thrashcr Court, Macon, Bibb County, Georgia in a manner intended and/or

reasonably foreseeable by Defenclants, JENN]NGS FIREARMS CALIFORNIA, JENNINGS

_ FIR_EARMS NEVADA, and/or B.L. JENNINGS, INC., BRYCO ARMS, INC. and/or BRYEO
ARMS', and/or the sole proprietorships of JANICE JENNINGS, and/or partnerships, l
associations, and/or other non-corporate business entities consisting of the individual Defendants
BRUCE L. JENNlNGS, JANIC_E JENNINGS, BRADLEY JENNINGS, KIMBERLY
JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUS'I`, KIMBERLY JENNH\IGS
TRUST, BRADLEY JENNINGS TRUS'l`-and/or RKB, when she unintentionally dropped the
handgun.

¢.

62.

On falling , the handgun struck a table andi"or another objector objects and

1-\ nn n .-»

Case 5:14-cv-OO431-WLS Document1-1 .Fj__|`.gp_r.`r;};Q./_;Ll/la, page 24 Of 55

\_minrentionally discharged

63.
'['he bullet discharged from the handgun struck Plaintiff’s decedent, William O. Bullard,
IIl, in the right abdomen, aorta, and other internal organs and tissue causing him serious injuries

and damages hereinafter more fully s_e__t forth.

64`.
Said injuries required emergency medical treatment William O. Bullard, IIl was a minor
requiring emergency medical treatment for which his mother, LINDA BULLARD is obligated
Said medical bills are in the amount of $ 2,283.00 and were incurred in the necessary and

reasonably proper course of medical treatment

65.
William O. Bullard, 'lll, died on Saturday, March 25, 2000 at approximately l l:54 p.m. as

a direct and proximate result of the gunshot injuries.

66.
Funeral expenses incurred for burial of William O. Bullard, lll are in the reasonable and

proper amount of$ 5,123.20.

‘.

67.

l’age 24 ol" 55

/ .

Case 5:14-cv-OO431-WLS Document1-1 File‘t:ls£t-`-Z/.ll/ld, -'Page 25 of 55

As a further result of said occurrence, the l’]ainti`fl”s decedent, William O. Bullard, Ill,

suffered severe physical pain, mental anguish, great detriment and loss.

68.
As a further result of the aforesaid occurrence, Plaintiff’s decedent, William O. Bullard,
III, was briefly unable to attend to his atsual and customary duties, activities and occupations, and

suffered a loss of enjoyment of life’s pleasures to his great detriment and loss.

69.
As a further result of the aforesaid occurrence, the Plaintift"s decederit,\?\{illiani O.

Bullard, lll, suffered great mental anguish being fully conscious and cognizant of ensuing death.

70.
William O. Bullard, Iii’s injuries were the proximate result of design and manufacturing
defects in the model "48" handgun which existed when the handgun was first released to the

marketplace by defendant JENNINGS and/or defendant Bryco.

71.
At the time of the discharge, the trigger of the handgun was not strucl<, pulled and/or

squeezed

l .

72.

Page 25 of 55

./"\`

Case 5:14-cv-OO431-WLS Document1-1 F=ite'd'12/11/14' Page 26 of 55

At all times relevant herein and material hereto, it was reasonably foreseeable by the

Defendants_ JENNINGS FIREARMS CALIFORNIA, JENNINGS FIREA.RMS NEVADA,

. and/or B.I_.. JENNINGS, INC, BRYCO ARMS, INC. and/or BRYCQ ARMS, andfor the sole

proprietorships ol`JANlCE .lENNlNGS, and/or partnerships, associations, and/or other non-

corporate business entities consisting of the individual Defendants BRUCE L. JENNINGS,

JANICE JENNH\IGS, BRADLEY ]El\l_l\l[llGS, KIMBERLY IENNINGS, RHONDA

l JEN`N[NGS, RHONDA JENNINGS TRUST, KIMBERLY JENNH\IGS TRUST, BRADLEY

JENNINGS TRUST and/or RKB that the handgun would, and/or might fall andfor drop.

73.

Fl`he handgun, when manufactured and sold by defendant JENNINGS YlR.EARMS
CALIFORNIA, JENNINGS FIREARMS NEVADA, and/or B.L. JENNINGS, INC., BRYCO
ARMS, l`l\lC- and/or BRYCO AR.MS, and/or the sole proprietorships of JANICE }ENNINGS_.
and/or partnerslrips, associations, and/or other non-corporate business entities consisting of the
individual Defendants BRUCE L. _.lENNINGS, JANICE JENNH\IGS, BRADLEY JENNINGS,
KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA JENNI'NGS TRUST,‘ KIMBERLY ""e '-
JENNINGS TRUST, BRADLEY JENNINGS TRUS'I` and/or RKB, was not merchantable and
reasonably suited to the use intended, and defendants are strictly liable-for defects in the handgun
under O.C.G.A. § 51-l-11.

I`.

74.

Page 26 of 55

Case 5:1 - -
4 cv OO431-WLS Document 1-1;_1;_"r_l*eol=~“l'2/_l_lllél....P.age 27.of55

Plaintiff is entitled to recover from Ii)el`endants JENNINGS FlR_EARMS CALIFORNIA,
JENNINGS FIREARMS NEVADA, and/or BL. JENNINGS, lNC., BRYCO AlKMS, INC.
and/or BRYCO ARMS, and/or the sole proprietorships of JANICE JENNINGS, and/or
partnerships, associations, and/or other non-corporate business entities consisting of the
individual Defendants BRUCE L. JENNTNGS, JANICE, JENNINGS, BRADLEY l ENNINGS,
KIMBERLY JENNlNGS, RHONDA JENNINGS, RHONDA JENNll~lGS TRUST, K_IMBERLY-
JENNl`l\lGS TRUST BRADLEY JENNINGS TRUST and/or RKB for the wrongful death ot` her

son, William O. Bullard, lll in such just amount as may be determined 'by a jury.

'FS.

On or about Saturday, l\flarch 25, 2000, and for some time prior thereto*, Defendants
BRYCO ARMS INC. BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, lE.NNlN_GS
FIREARMS NEVADA, B.L. JENNINGS, INC., BRUCE L. JENNINGS, JANICE JENNINGS,
BRADLEY IENNINGS, KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA _

JENNINGS TRUST, KIMBERLY JENNINGS TRUST, BRADLEY JENNINGS TRUST, and!or

RKB, acting as aforesaidj was engaged in the designing manufacturing consigning, distributing,

selling, leasing, renting, servicing, repairing, promoting, marketing, advertising, and otherwise
placing in the stream of commerce certain JENNINGS Firearms Andfor Bryco Arrns .3 30 calib‘er “
(.380 rrun.) semi automatic pistols, including but not limited to a certain JENNYNGS Fireartns by
Biyco Arms model Bryco “48”, 380 caliber semi automatic pistol, serial Number 8928’747 and `

accopipanying magazines (hereinafter referred to as the "Product”).

Page 27 of 55

Case 5:14-cv-OO431-WLS Document 1-1 F'ile'ot 12/1.1[14, Page 28 of 55

76.
On or about 'Saturday, March 25, 2000, and for some time prior thereto, Defcndants

BRYCO ARMS, INC., BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, ll.:.l\ll\lll\lGSl

FIREARMS NEVADA, B.L. JENNI'NGS, INC., BRUCE L. JENNYNGS, JANICE JENNINGS,
. BRADLEY .IENNINGS, KIMBERLY JENND\IGS, Rl-IONDA JENNINGS, RHONDA ~
JE,NNINGS 'fRUST,`KlMBERLY J`ENNINGS TRUST, BRADLEY J_lilNNlNGS TRUS'I`, and/or
RKB expected and ltnew, should huge known and/or are charged with knowledge that said
Product would be used by the consuming and/or rising public without prior inspection or product
limitations testing, and would reach the consuming and/or using public without substantial

changein the condition in which said Product was originally manufactured, distributed and sold.

77.
At all times relevant herein and material hereto, Tiffany l'lardware was a member of the

consuming and/or using public.

73.
At all times relevant herein and material hereto, Tiffany Hardware was unaware of the
defective and unreasonably dangerous condition of the aforesaid Product, as hereinafter more

fully Set fortli.

79.
‘ - l n . _
At all times relevant herein and material hereto, 'l`ifl`any llardware, was using the

Page 28 of 55

**<~

/

ease 5:14-cv-00431-vvl_s Documenr 1-11 intense/lina Page 29 of 55

aforesaid Product in a manner intended by the said Defendants and the Plaintifl"'s decedent was
seriously injured and died as a direct result of the defective and unreasonably dangerous
condition of the Product and/or the negligence of the Defendants as hereinafter more fully set

forth.

.`80.
At all times relevant herein and material hereto, the manner in which Tiffany Hardware
.was using the aforesaid Product was reasonably foreseeable by Defendants BRYCO ARMS,
INC., BRYCO ARMS, JENNINGS FIREAR_MS CALIFORNIA, llEI\~ll\lII\lGS FlREPiRl\/IS
NEVAD_A, B.L JE`N'NINGS, INC., BRUCE L. JENNINGS, JANICE JEN_NINGS, BRADLEY
JENNINGS, KIMBERLY JENNINGS, Rl-IONDA JENNINGS, RHONDA JENNlNGS 'l`RUST,

Kll\/lBERLY JENNINGS TRUST, BRADLEY JENNINGS TRUST, and/or RKB.

l sr

At all times relevant herein and material hereto, Defendants, BRYCO ARMS, ll\lC.,
BRYCO ARMS, IENNINGS FIREARMS CALIFORNLA, JENNINGS FIREARMS NEVADA,
B.L. JENNINGS, lNC, BRUCE L. JENNINGS, JANICE JENNINGS, BRADLEY JENNINGS, h _l
KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUST, KIMBERLY `- l-
JENNINGS TRUS'I`, BRADLEY .lENNlNGS TRU ST, and RKB were under a duty to:

a) l’roperly design said Product;

§) Properly manufacture said Product;

c) Properly and adequately design and manufacture the manual safety of the Product;

Page 29 of 55

Case 5:14-cv-00431-WLS Document1-1 F'lled`12/11/14` Page 30 of 55

d) Properly and adequately design and manufacture the manual safety of the Product
so as to prevent said safety from unintentionally disengagng and/or failing;

e) Properly and adequately design and manufacture the said manual safety to avoid
the safety from unintentionally disengaging and/or failing;

f) Properly and adequately design and manufacture the Product with an adequate
safety device and/or meghanisrn to prevent the manual safety from unintentionally
disengaging and/or failing;

g) Use proper, adequate, complete and/or safe materials and/or parts in the
fabrication and/or assembly and/or manufacture of said Product;

h) ` Provide an adequate safety mechanism in or o_n the Product;

i) Properly and adequately design and manufacture a warning mechanism in or on
the Product to indicate to the user that the manual safety has failed and/or is
disengaged; l

j) Properly and adequately design and manufacture an adequate warning mechanism
in or on the Product to indicate to the user that the manual safety has failed and/or
is disengaged;

k) I’roperly and adequately design and manufacture the Product with an automatic
firing pin safety andjor other safety device which locks the firing pin until the
trigger is pulled and/or squeezed;

1) Properly and adequately design and manufacture the Product with an automatic

¢_ firing pin safety and/or other safety device to prevent the product from

unintentionally and/or accidentally discharging if the Product is dropped when the

Page 30 of 55

Case 5:14-cv-OO431-WLS Document 1-1 ‘Ftii?dv"it-Q/ll/l`d Page 31 of 55

manual safety has failed and/or is disengaged;

m) Properly and adequately design and manufacture the Product so that it can be
safer and/or easily unloaded; l

n) v Properly engineer said Product;

o) Properly fabricate said Product;

p)` Property assemble said Pioduct;

q) Properly test said Product for defects;

r) Properly inspect the Product to determine and/or ensure the safety thereof;

s) Provide clear and safe instructionsifor the use of said Product;

t) Provide adequate and complete instructions for safe and proper use of the Product;

u) Provide adequate and complete instructions for safe and proper unloading of said
Product;

v) Provide warnings for the safe and proper use of said Product;

w) Provide adequate and complete warnings for the safe and proper use of said
Product; k

x) Disclose to purchasers that the Product was defectively and/or unreasonably

dangerously designed and/or manufactured;
y) Recall the Product when Defendant learned of other incidents in which persons
using the Product and/or other model Bryco “48” .3 80 caliber semi-automatic
pistols of the same type and kind, or predecessor models on which the design of
the Product is based, in the same or essentially the same manner had received

serious injuries from the malfunction and/or unintentional discharge and/or

Page 31 of 55

Case 5:14-cv-OO431-_WLS Document1-1,*Eil;e_ot__1_2[11/_;_A, Pagegz Of 55

accidental discharge of said pistols;

. z) Recall the Product when Defendant learned of scientifically conducted testing in
which the Product and/or other model Bryco ‘_‘48"’ '.380 caliber senn-automatic
pistols of the same type and kind, or predecessor models on which the design of
the Product is based, in the same or essentially the same manner malfunctioned
and/or unintentionally discharged

aa) Refrain from advertisiiig promoting and marketing model Bryco “48“ 380 caliber
(.380 mm) semiautomatic pistols like the Product aforementioned as being safe .
under ordinary use when Defendants knew or should have known that such pistols
were in fact unsafe-and unreasonably dangerous under ordinary use due to the
tendency of the aforementioned manual safety to disengage and/or fail, pertaining
the pistol to unintentionally and/or accidentally discharge;
bb) Refrain from advertising promoting and marketing model Bryco “43” .380 caliber
semiautomatic pistols like the Product aforementioned as being safe under
ordinary use when Defendants knew or should have known that such pistols were
in fact unsafe and unreasonably dangerous under ordinary use due to the lack of
an automatic firing pin safety and/or other safety device which locks the firing pin
until the trigger is pulled or squeezed, thereby permitting the pistol to 4 v -
unintentionally and/or accidentally -discharge;

cc) Refrain from advertising promoting and marketing model Bryco “48” 380 caliber.

semiautomatic pistols like the Product aforementioned as being safe under

ordinary use when Defendants knew or should have known that such pistols were

Pagc 32 of 55

B

Case 5:14-cv'00431-WLS- Document- 1~1-F+led~t21ti+14'-~"Page'33"01°'55

in fact unsafe and unreasonably dangerous under ordinary use due to the lack of
an automatic firing pin safety and other safety devices to prevent the Product from
unintentionally and/or accidentally discharging if the Product is dropped when the
manual safety has failed and/or is disengaged;

dd) Properly and adequately instruct their agents, servants, workmen, and/or
employees in the safe, proper and adequate inspection, testing, fabrication, and/or .
assembly of said Produc§t";,

ee) Properly and adequately supervise their agents, servants, workmen, andfor
employees in the safe, proper and adequate inspection, testing, fabrication and/or
assembly of said Pi'oduct;

ff)-’ Determine and/or ensure that the designers of said Product were properly and
adequately educated, trained, sclioole_d, and/or had and/or possessed sufficient
knowledge to safely,' properly and adequately design said Product;

gg) Deterrnine and/or ensure that their agents, servants, workrnen, and/or employees
were properly and adequately educated, trained, and/or schooled in the 'safe,
proper and adequate inspection, testing, fabrication and/or assembly of said
Product;

hh) Otherwise use due care under the circumstances

82.
At all times relevant herein and material liereto, Defendants BRYCO ARMS, INC.,

. ‘. ~
RYCO ARMS, JENNI`NGS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA,

Page 33 of 55

Case 5:14-cv-OO4-31-W|;S~ - Doctirtient-l 1~-t'~|5“t|”éd"‘t27‘_‘rtfi‘zt"‘ ‘Pag'e')_?;¢l"of 55 `

B.L. JEN`NINGS, lnc. BRUCE L. JENNINGS, JANICE JENNINGS, BRADLEY JENNINGS,

KIMB ERLEY JENNINGS,

RHONDA JENNI`NGS, RHONDA JENNINGS TRUST,

KIMBERLY JENNINGS T_RUST, BRADLEY JENNINGS TR.UST, and/or RKB acting as

aforesaid, knew or should have known and/or are charged with knowledge of the defective and

unreasonably dangerous condition of the Product as hereinafter more fully set forth.

lien

83.

At all times relevant herein and material liereto, Defendants BRYCO ARMS, INC.,

BRYCO ARMS JENNINGS FIREARMS CALlFORNIA, JENNINGS FlREARMS NEVADA,

B.L. JENNINGS,' INC., BRUCEL. JENNINGS JA.NICE JENNINGS,BRADLEY JENNINGS,

KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUST,

KIMBERLEY JENNINGS

TRUS'I`, BRADLEY JENNINGS TRUST, and/or RKB, through

commission or omission, acted negligently, carelessly, recklessly, willfully, wantonly and

without due regard for the r

others.

ights and safety of the consuming public, William O. Bullai'd, lll and

FIRST COUNT
STRICT LIABILITY IN TORT

84.

The Plaintiff hereby incorporates by reference each and every allegation contained in

l

paragraphs l through 83 inclusive of the foregoing Compliant, as if the same were set forth fully

l’age 34 of 55

Case 5:14-cv-OO431-WLS Document 1-1 7|1'11'(`_'2_0"'12/11/1Af Page 35 of 55

at length herein.

85.
On or about Saturday, March 25, 2000, and for some time prior thereto, Defendants
BRYCO ARMS, fNC., BRYCO ARMS, J'ENNINGS FIREARMS CALIFORNIA,_JENNINGS
FIR_EARMS NEVADA, B.L. JENNIN§'S, INC., BRUCE L. JENNINGS, JANICE JENNINGS,‘

BRADLEY JENNTNGS, KIMBER_LY .iENNl'NGS, RHONDA JENNINGS, RHONDA

/

' JENNINGS TRUST, KIMBERLEY JENN[NGS TRUS.T, BRADLEY IENNINGS TRUST,

and/or RKB acting as aforesaid, designed, manufactured, engineered, assembled, fabricated,
distributed; consigned, sold, marketed, advertised, and/or otherwise placed in the stream of

commerce the aforesaid Product consumed and/or used by the consuming public.

86.
At all times relevant herein and material hereto, Defendants BRYCO ARMS, lNC., d
BRYCO ARMS, JENNINGS FIREARMS CALlFORNiA, JENNINGS FIREARMS NEVADA,
B.L. JENNINGS, INC., BRUCE L. JENNINGS, JANICE JENNINGS, BRADLEY JENNINGS,
KIMBER_LY JENNINGS, Rl-lOl_\lDA JENNINGS, RHONDA JENNI`NGS TR.UST, KIMBERLY~ <h "
JENNINGS TRUST, BRADLEY JENNINGS TRUST, and/or RKB, were under a duty to place
the aforesaid Product into the stream of commerce in a reasonably safe condition so as to be fit s

for its intended uses and purposes

l

8'!`.

Page 35 ol` 55

./"`\

Case 5:14-cv-OO431-WLS Document 1-1 .|¥ili`e_tl_.lZ/l;L/J.Af Page 36 of 55

The aforesaid Product was unsafe for its intended uses and purposes and was defective

and unreasonably dangerous in that Defendants BRYCO ARMS, INC., BRYCO ARMS,

JENNiNGs FIREARMS CALii=oRNrA, JENNiNos rrREARMs NEvADA, B.L. Jr~;Ni~irNos,

lNC., BRUCE L. JENNINGS, iANlCE JENNI`NGS, BRADLEY JENNINGS, KIMBERLY

JENNINGS, RHONDA JENNING_S, RHONDA JENNINGS TRUST, K.IMBERLY JENNINGSl

TRUST, BRADLEY JENNINGS TRUST, and/or-RKB:

20
b)

C)

d)r

g)

h)

‘€i' j
I-`ailed to properly design said product;.

Failed to properly manufacture said product;

Improperly and inadequately designed and/or manufactured the manual safety of
the Product; h

improperly and inadequately designed and/or manufactured the Product in failing
to prevent the manual Safety from unintentionally disengaging and/or failing;
improperly and inadequately designed and/or manufactured the Product so as to il

permit the manual safety to unintentionally disengage and/or to fail;

improperly and inadequately designed and/or manufactured the Product in failing

to provide an adequate safety device and/or mechanism to prevent the manual
safety from unintentionally diseiigaging and/or .failing;

improperly and inadequately designed and manufactured the Product in using _
improper, inadequate, incomplete, and/or defective, and/or unsafe materials and/or
pai'tS;

Failed to provide an adequate safety mechanism in or on the Product;

d Improperly and inadequately designed and/or manufactured the Product in failing _

Page 36 of 55

Case 5:14-cv-OO431-WLS Document 1-1 F»iled 12/11/14 Page 37 of 55

to provide a warning mechanism-in or on the Product to indicate to the user that
the manual safety has failed and/or is disengaged;

j) improperly and inadequately designed and/or manufactured the Product in failing
to provide an adequate warning mechanism in or on the Product to indicate tothe
user that the manual safety has failed and/or is disengaged; v

k) improperly and inadeqp__ately designed and/or manufactured the Product without
an automatic firing pin safety and/or other safety device which locks that firing
pin until the trigger is pulled andfor squeezed;

l) improperly and inadequately designed and/or manufactured tlie Product without a
safety mechanism and/or device to prevent the Product from discharging when the
manual safety has failed and/or is disengaged and the trigger is not pulled or
squeezed;

m) improperly and inadequately designed and/or manufactured the Product without
an automatic firing pin safety and/or other safety device to prevent the Product
from unintentionally and/or accidentally discharging if the Product is dropped and
the manual safety has failed and/or is disengaged;

n) improperly and~ inadequately designed and/or manufactured the magaaine and]or g
pistol in such a way that the magazine will not drop free of the,pistol when the

magazine release is activated;

o) Iniproperly and inadequately designed and/or manufactured that Product in that
‘- the magazine cannot be safely and/or easily removed from the pistol;
p) improperly and inadequately designed an/or manufactured the Product in that the

Page 37 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Fi-le"o| 12/11/14 Page 38 of 55

Product cannot be safely andfor easily unioaded;
q) Failed to properly engineer the Product;
r) Failed to properly fabricate the Product;

s) Faiied to properly assemble the Pi'oduct;

t) Failed to properly test the Product for dcfects;

u) Failed to properly inspept the product to determine and/or ensure the safety `
thereof;

v) Provided unclear, misleading and/or hazardous instructions for the use of said
Product;

w)- Failed to provide adequate and complete instructions for the safe and proper

unloading of the Product;

x) Failed to provide adequate and complete instructions for safe and proper use;
y) Failed to provide warnings for safe and proper use;
z) Failed to provide adequate and complete warnings for safe and proper use;

aa) ' Failed to disclose to purchasers, the Plaintiff, and others similarly situated that the
Product was defectiver and/or unreasonably dangerously designed and/or
manufactured;
bb)' \Faiied to recall the Product when Defendants leaned of other incidents in which
persons using tlie Product and/or other model Bryco“48” .380 caliber (.380 mm)
semiautomatic pistols of the same type and kind in the same or essentially the
‘- same manner had received serious injuries from the malfunction an/ or by the

unintentional discharge and/or accidental discharge of said pistols;

Page 38 of 55

Case 5:14-cv-OO431-WLS Document 1-1»"File'o“-1~2-/11~/i~4 'Page 39 of 55 " '""'"“_

cc) Adver‘tised, promoted, and marketed the Product as being safe under ordinary use
when Defendants knew or should have known\that such model Bryco “48” .380
caliber semiautomatic pistols were in fact unsafe and unreasonably dangerous
under ordinary use due to the tendency of the aforementioned manual safety to
unintentionally and/or disengage an!or fail, permitting the pistol to unintentionally
and/or accidentally discharge;

dd) Advertised, promoted anil marketed the Product as being safe under ordinary use
when Defendants knew or should have known that such model Bryco “48” -.3 80
caliber semiautomatic pistols ware in fact unsafe and unreasonably dangerous
under ordinary use due to`the lack of an automatic firing pin safety which locks
the_firing pin until the trigger is pulled or,squeezed, thereby permitfing the pistol
to unintentionally and/or accidentally discharge; l

ee) Advertised, promoted and marketed the Product as being safe under ordinary use
when Defendants knew or should have known that the model Bryco “48” .380-
caliber semiautomatic pistols where in fact unsafe and unreasonably dangerous
under ordinary use due to the lack of an automatic firing pin safety and/or other
safety device to prevent the Product from unintentionally and/or accidentally
discharging if the `Product is dropped when the manual safety has failed and/or is mac
disengaged; n

ff) Advertised promoted and marketed the Product as being safe under ordinary use

when Defendants knew or should have known that such model Bryco “48” .3 80

caliber Semiautomatic pistols were iii fact unsafe and unreasonably dangerous

Page 39 of 55

Case_ 5:14-cv#00431-WLS "Doc'umertt"l-l_”F‘il e"d 1"271`1712¥ Page 40 of 55

under ordinary use due to the known propensity of the product to discharge when
dropped;

gg) Advertised promoted and marketed the Product as being safe under ordinary use
when Defendants knew or should have known that such model Bryco “48” .3 80
caliber Semiautomatic pistols were in fact unsafe and unreasonably dangerous
under ordinary use due to the known absence of safety mechanisms preventing the
product from discharging"'when dropped;

hh) Failed to properly and adequately instruct their agents, servants, workinen, and/or
employees iii the safe, proper and adequate inspection, testing, fabrication and/or
assembly of said Product;

ii) Failed to properly and adequately supervise their agents, servants, workmen,
and/or employees in tire safe, proper and adequate inspection, testing, fabrication
and/or assembly of said Product;

j j) F_ailed to determine and/or ensure that the designers of said Product were properly
and adequately educated, trained, scliooled, and/or had and/or possessed_sufficient l
knowledge to safely, properly and adequately design said Product;

kk) Failed to determine and!or ensure that their agents, Sei'vants, workmen, and/or

employees were adequately educated, trained and!or schoolcd in the safe, proper :‘c"~ z

and adequate inspectiori, testiiig, fabrication and/or assembly of said product;

ll) Otlierwise failed to use due care under the circumstances

Page 40 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Fi'ted 12/1_1/_14 Page 41 of 55

88.
As a result of the unsafe, defective and/or unreasonably dangerous condition of the

lProduct as aforesaid, the Plaintiff’s decedent, Williarn O. Bullard, III, sustained physical and

mental injuries and death.

89.

Defendants BRYCO ARMS, fi:IC., BRYCO AR_MS, JENNINGS FIREARMS
CALIFORNIA, JENNINGS FIREARMS N_EVADA, B.L. JENNINGS, INC., BRUCE L.
JENNINGS, JANICE JENNINGS, BRADLE,Y JENNINGS, KIMBERLY JE,I_\I]\Ill\lGS,v
RHONDA JENNINGS, Rl-IONDA JEhiNINGS 'I`RUST, KlMBERLEY JENNINGS TRUST,
BRADLEY JENNl`NGS TRUST, andd!or RKB, individually, jointly, and/or severally are liable to

the Plaintiff Linda Bullard, individually and as the Administrator of the Estate of William O_

Bullard, III_ on the theory of strict liability in tort under O.C.G.A. § 5_1-1-1 l.

SECOND COUNT
NEGLIGENCE

90.
Plaintiff Linda Bullard hereby incorporates by referenda each and every allegations
contained in paragraphs l through 89 inclusive of the foregoing Complaint, as if the same were

set forth fully at length herein.

J.

9l.

Page 4l of 55

.~”`\

Case 5:14-cv-OO431-WLS Document 1-1. Fi'li`e`d..lZ/ll/M Page 42 of 55

_¢

'l`he aforesaid occurrence and resultant injuries to William O. Bullard, lll were caused by
the negligence, carelessness, reeklessness, and breach of duty of reasonable care of Defendants
BRYCO ARMS, INC., BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, JENNINGS
FlREARI\dS NEVADA, B.L. JENNlNGS, INC., BRUCE L. JENNINGS, JANICE JENNINGS,.
BRADLEY JEN`NINGS, KlMBERLY JENNlNGS, R_HONDA JENNII_\TGS, RHONDA

JENNINGS TRUST, KIMBE_RLY IENNINGS TRUST, BRADLEY JENNINGS TRUST, and/or

iv

RKB in that gate Defendants

a) Failed to properly design said product;

b) - Failed to properly manufacture said product;

c) lmproperly and inadequately designed and/or manufactured the manual safety of
the Product;

d) lmproperly and inadequately designed and/or manufactured the -Product in failing
to` prevent the manual safety from unintentionally disengaging and/or failing;

e) _ Improperly and inadequately designed and/or manufactured the Product so as to
permit the manual safety to unintentionally disengage and/or to fail;

f) lmproperly and inadequately designed and/or manufactured the Product in failing _,

to provide an adequate safety device and/or mechanism to prevent~the manual 17

safety from unintentionally disengaging and/or failing;

g) lmproperly and inadequately designed and manufactured the Product in using

improper, inadequate, incomplete, and/or defective, and/or unsafe materials and/or

parts;

Page 42 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Pited'lZ/ll__/_14 Page 43 of 55

h)

j)

k)

l)

m) »

Failed to provide an adequate safety mechanism in or on the Product;

lrnproperly and inadequately designed and/or manufactured the Product in failing
to provide a waming mechanism in or on the Product to indicate to the user that
the manual safety has failed and/or is disengaged;

Improperly and inadequately designed and/or manufactured the Product in failing
to provide an adequate warning mechanism in or on the Product to indicate to the
user that the manual safe:fy has failed and/or is disengaged;

lmproperly and inadequately designed and/or' manufactured the Product without
an automatic firing pin safety and/or other safety device which locks that firing
pin until the trigger is pulled and/or squeezed;

improperly and inadequately designed and/or manufactured the Product without a
safety mechanism and/or device to prevent the Product from discharging when the
manual safety has failed and/or is disengaged and the trigger is not pulled or
squeezed;

improperly and inadequately designed and/or manufactured the Product without

an automatic firing pin safety and!or other safety device to prevent the Product

from unintentionally and/or accidentally discharging if the Product is dropped and

the manual safety has failed and/or is disengaged;

improperly and inadequately designed and/or manufactured the magazine and/or
pistol in such a way that the magazine will not drop free of the pistol when the
magazine release is activated;

lmproperly and inadequately designed and/or manufactured that Product in that_

Page 43 of 55

‘K"

Case 5:14-cv-OO431-WLS Document 1-1_ Filed 1'2/11[14 Page 44 of 55

_r

the magazine cannot be safely and/or easily removed from the pistol;

p) Irnproperly and inadequately designed an/or manufactured the Product in that the

Product cannot be safely and/or easily unloaded;

q) Failed to properly engineer the Product;

r) Failed to properly fabricate the Product;

s) Failed to properly assemble the Product;

t) Failed to properly test the Product for defects;

u) Failed to properly inspect the product to determine and/or ensure the safety
thereof;

v)' d Provided unclear, misleading and/or hazardous instructions for theuse of said
Pio`duct;

' w) Failed to provide adequate and complete instructions for the safe and proper

unloading of the Product;

x) Faiied to provide adequate and complete instructions for safe and proper use;
y) ' Failed to provide warnings for safe and proper use;
z) Failed to provide adequate and complete warnings for safe and proper use;

aa) Failed to disclose to purchasers, the Plaintiff, and others similarly situated that the '*‘”
Product was defectively and/or unreasonably dangerously designed and/or
manufactured;
bb) Failed to recall the Product when Defendants leaned of other incidents in which
" persons using the Product and/or other model Bryco “48” .380 caliber (.3 80 mm)

semiautomatic pistols of the same type and kind in the same or essentially the

Page 44 of 55

,/"\'

ease 5:14-cv-oo431-vvl_s Documem1-:t-~"r`='~'i'1b"cr"r2'rrrrizr"r>age 45 of 55 ' " " ”"""_

cc)

day

e@) _

ff)

same manner had received serious injuries from the malfunction an/or by the
unintentional discharge and/or accidental discharge of said pistols;

Advertised, promoted, and marketed the Product as being safe under ordinary use
when Defendants knew or should`have known that such model Bryco “48” 380

caliber semiautomatic pistols were in fact unsafe and unreasonably dangerous

_under ordinary use due to the tendency of the aforementioned manual safety to

unintentionally and/or df;engage an/or fail, permitting the pistol to unintentionally
and!or accidentally discharge; '

Advei'tised, promoted and marketed the Product as being safe under ordinary use
when Defendants knew or should have known that such model Bryco “48” 1380
caliber semiautomatic pistols ware in fact unsafe and unreasonably dangerous
under ordinary use due to the lack of an automatic firing pin safety which locks
the firing pin until the trigger is pulled or squeezed, thereby permitting the pistol
to unintentionally and/or accidentally discharge;

/-kdvertised, promoted and marketed the Product as being safe under ordinary use
when Defendants knew or should have known that the model Bryco “48” .3 80

caliber semiautomatic pistols where in fact unsafe and unreasonably dangerous

. . . `{?,; ' .
under ordinary use due to the lack of an automatic firing pin safety and/or other

safety device to prevent the Product from unintentionally and/or accidentally
discharging if the Product is dropped when the manual safety has failed and/or is
disengaged;

Advertised promoted and marketed the Product as being safe under ordinary use

Page 45 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Fil_ed 12111/14 Page 46 of 55

sa)

hh)`

jj)

kl<)

in

when Defendants knew or should have known that such model Bryco “48” .380
caliber Semiautomatic pistols were in fact unsafe and unreasonably dangerous
under ordinary use due to the known propensity of the product to discharge when
dropped; ,

Advertised promoted and marketed the Product as being safe under ordinary use
when Defendants knew o¢r_r should have known that such model Bryco “48” .3 80
caliber Seiniautoinatic pistols were in fact unsafe and unreasonably dangerous
under ordinary use due to the known absence of safety mechanisms preventing the
product from discharging when dropped;

Failed to properly and adequately instruct their agents, servants, workmen, and/or
employees in the safe, proper and adequate inspection,testing, fabrication and/or

assembly of said Product; ,

_ Failed to properly and adequately supervise their agents, servants, workmen,

and/or employees in the safe, proper and adequate inspection, testing, fabrication

' and/or assembly of said Pi'oduct;

Failed to determine and/or ensure that the designers of said Product were properly

and adequately educated, trained, schooied, and/or had and/or possessed sufficient '-‘.`_ -
knowledge to safely, properly and adequately design said Product;

Failed to determine and/or ensure that their agents, servants, workmen, and/or
employees were adequately educated, trained and/or schoolcd in the safe, proper

and adequate inspection, testing, fabrication and/or assembly of said product;

Otherwise failed to use due care under the circumstances

Page 46 or 55

CaSe 5114-0\/-00431-WL_S.__._L_>_QQ_ument 1-1 ~.;'F:tled';l'Z?'l_li/al_‘l PHQ€ 47 Qf.55 v

92.

ln the alternative, Plaintiff is without specific knowledge as to the nature of the happening
of the aforesaid accident, and the said event of the kind which ordinarily does not occur in the
absence of negligence, and the indicated negligence is within the scope of the Defendants’
aforesaid duties to the Plaintiffs decedent such that it may be inferred that the said harm
suffered by the Plaintiff was caused by tile negligence of Defendants BRYCO ARMS, INC.,
BRi’CO ARMS, JENNINGS FlREARl\/IS CALIFORNIA, JENNINGS FlREARMS NEVADA,
B.L. JENNINGS, INC., BRUCE L. JEl\lNINGS`, lANlCE J'EN'NINGS, BRADLEY JENNINGS,
K_lMBERL_Y JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUST, KIMBERLY

.TENNINGS 'I`RUST, BRADLEY JENNFNGS TRUST, and/or RKB, and the Piaintiff may rely

on the theory of _R_e§ lsp_a Loguitur

93.

As a result of the negligence, carelessness, recklessness, willfulness and wantonness of
Defendants BRYCO ARMS, lNC., BRYCO ARMS, JENN]NGS FI.R.EARMS CALIFC_)RNIA,
JENNINGS FlREAR.l\/IS NEVADA, B.L. JENNINGS, fNC., BRUCE L. JENNINGS, JANICE
JENNINGS, BRADLEY JENNINGS, KIMBE,RLY JENNfNGS, RHONDA JENNINGS,
Ri-IONDA JENNINGS TRUST, KIMBERLY JENNINGS TRUST, BRADLEY JENNINGS _
TRUST, and/or RKB as aforesaid, the Plaintiffs decedent, William O. Buliard, lll, sustained

h physical angl_mental iiij uries, physical and/or mental impairment and/or disfigurement and

scarring, pain and suffering, loss of time from his usual and customary duties, activities and

~.

Page 47 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Fll'ed 12/11/14 Page 48 of 55

occupation, loss of enjoyment of life’s pleasures, loss of earnings and earning capacity, and

incurred various expenses, all as aforesaid

94.

Defendants, BRYCO ARMS, fNC., BRYCO ARMS, JENNINGS FIR.EARMS
CALIFOR_NIA, JENNINGS FIREARI:dS NEVADA, B.L. JENNINGS, INC.,BRUCE L.
JENNINGS, JANICE JENNINGS, BkADLEY JENNINGS, KIMBERLY JENNINGS,
RHONDA JENNINGS, R.l-IONDA JENNINGS TRUST, KIMBERLY JENNMGS 'I`RUST,

BRADLEY JENNINGS TRUST, and/or RKB is liable to the Plaintiff on the theory of

negligence

THIRD COUNT
PUNITIVE DAMAGES

95.
The Plaintiff hereby incorporates by reference each and every allegation contained in

paragraphs l through 94 inclusive of the foregoing Complaint, as if the same were set forth fully

at length herein.

96.
At all times relevant herein and material hereto, Defendant BRYCO ARMS, fNC.,
BRYCO ARMS, JENNINGS FIREARMS CALIFORNIA, JENNINGS FIREARMS NEVADA,
B.L.`JEN‘NTNGS, lNC., BRUCE L. JENNH\JGS, JANICE JENNINGS, BRADLEY JENNINGS,

KIMBERLY JENNINGS, RHONDA JENNINGS, RHONDA JENNINGS TRUST, KIMBERLY

Page 48 of 55

ease 5:14-cv-oo431-vvl_s Documem 1-1 titled 1`2/11/_14 Page 49 of 55

JENNINGS 'I`RUST, BRADLEY JENNINGS TRUST, and/or R_KB, intentionally designed,
inanufactured, engineered, fabricated, assembled, consigned, distributed, sold, advertised,
promoted, marketed and otherwise placed into the stream of commerce the aforesaid Product
knowing or having reason to know of the aforesaid defective and unreasonably dangerous
condition of said product and knowing or having reason to know that the aforesaid defective and
unreasonably dangerous condition of tle Product created an unreasonable risk of bodily harm to
the Plaintiff”s decedent, Willi_arn O. Bullard, III, and others similarly situated and knowing or
having reason to`know that the aforesaid defective and unreasonably dangerous condition of the
Product involved a high degree of probability that substantial harm would result to the Plaintiff

and others similarly situated

97.

At all times relevant herein and material hei'eto, Defendants BRYCO ARMS, INC., _
BRYCO AR.MS, JENNINGS FIREARMS CALIFOilNIA, JENNINGS FIREARMS NEVADA, n
B.L. JENNINGS, INC., BRUCE L. JENNINGS, JANICE JEWNGS, BRADLEY JEI;]NINGS,
KIMBERLY JENNINGS, Ri-IONDA JENNINGS, RHONDA JENNINGS TRUST, KIMBERLY
JENNINGS TRUST, BRADLEY. JENNINGS TRUST, and/or RKB knew and/or had reason to re
know of the aforesaid defective and unreasonably dangerous condition of the Product and knew
and/or had reason to know of the aforesaid unreasonable risk of bodily harm and high degree of
probability that substantial harm would result to the Plaintiff and other users of the Pi‘oducts

. aforesaid,fi_'om: v

Pzigé 49 or 55

ease 5:14-cv-00431-WLS Documem 1-1 Fit'e`d°12/11/14 Page 5001‘55

a) Testing performed by defendants;
b) Testing by consultants as provided to defendants;
c) Consumer complaints;

d) Reports of failure;

e) K.nown failure of predecessor designs on which the design of the product is based;

ij Field audits and/or inspections;
‘s
g) Warehouse audits and/or inspections;
h) Communications, letters, reports and/or other documents from other-members of

the trade or industry;

i) , ' Other Products liability claims and/or lawsuits;

j)' Thé reports and/or tests of engineers and/or engineering or other experts;
k) Depositions of various engineers and/or experts;
1) Warnings from the Consumer Product Safety Commission andJor other federal

and/or state agencies;
m) - Through other means and/or methods which may be determined through discovery

and the course of trial.

98.
The designing, manufacturing engineering fabricating, assembling, consigning,
distributing, selling, promoting, advertising marketing, and other wise placing into the stream of
_ commerce _,said Product by the Defendants, having knowledge and/or reason to know the

foregoing, was intentionally done and/or was done with reckless and/or conscious indifference to

Page 50 of 55

ease 5:14-cv-00431-WLS Documem 1-1 l`-=Tt"éd""lz/ll/l¢t Page 51 ores

the interests of the Plaintiff and others and/or was done with evil and/or bad motive and
constitutes outrageous conduct such that the Plaintiff, as Administrator of the Estate of Williarn -
O. Bullard, lll, is entitled to an award of punitive damages against Defendants BRYCO AR_MS,
l'NC., BRYCO ARMS, JENNINGS FIREARMS CALIFORNlA, JENNTNGS FIREARMS
NEVADA, B.L. JENNINGS, INC., BRUCE L. JENNINGS, JANICE JENNINGS, BR.ADLEY
JENNINGS, KIMBERLY JENND\TGS_$¥RHONDA IENNINGS, RHONDA JENNlNGS 'I`RUST,
Kll\/IBERLY JENNINGS TRUST, BMDLEY JENNINGS TRUST, and/or RKB and said d

punitive damages are hereby demanded

FOUR'I`H COUNT
NEGLIGENCE

99.
'l`he Plaintiff hereby incorporates by reference each and every allegation contained in

paragraphs l through 98 inclusive of the foregoing Cornplaint, as if the same were set-forth fully _

at length herein.

100.
On March 25, 2000 Tiffany l-Iardware became aware that the handgun was not
functioning properly and attempted to return the handgun for repair or replacement to GRAY

HIGHWLY PAWN, INC. de/a Shurlington .lewelry and Pawn.

Page 51 of 55

ease 5:14-cv-00431-WLS Documem 1-1 Fifé_`d ‘12/11/14 ` Page 52 of 55

lOl.
Defendant RONALD R_[CHARDSON, as agent of GRAY H.[GHWAY PAlNN, INC.
d/b/a Shurlington Jewelry and Pawn, examined the defective handgun and, despite his known
superior experience in handling firearms and the hazardous condition of the handgun, and despite
Ms. Hardware’s known relative inexperience in weapons handling, negligently instructed Tiffany s
Hardware to keep the gun over the weekend and return with it on Monday.
` ii
102.
Such negligent conduct is actionable as negligence in accordance with the Restatement
('I`hird) of 'l`.orts at Section 13, Kiirg Hardware C`o. v. Enm's, 39 Ga. App. 355, 147 S.E. 119
(1929) and Federa! fast Co. v. Farnrer's Supply .S'tore, Inc., 2001 WL 1203361 (Ga. App. Oct.

12, 2001).

103.
Defendant RONALD RlCHARDSON and GRAY HIGHWAY PAWN, INC. d/b/a
Shurlington Jewelry and Pawn are jointly and severally liable to the Plaintiff for the negligent
conduct of RONALD RICHARD$ON as a significant contributing cause of injury and death to

William O. Bullard, III.

FIFTH COUN’I`
PUNITIVE DAMAGES

l04.

Page 52 of 55

ease 5:14-cv-00431-WLS Documem 1-1 Fil`§ici l"1`2/`11/14 Page 53 of 55 _ _ .. _______

The Plaintiff hereby incorporates by reference each and every allegation contained in
paragraphs 1 through 103 inclusive of the foregoing Complaint, as if the same were set forth

fully at length herein.

105.
Defendant RONAI_,D RICHARDSON, as agent of GRAY HIGHWAY PAWN, INC.~
d/b/a Shurlington lewelry and Pawn, kii;:w or should have known of the dangerous defects in the
handgun prior to the retail sale of same, and knew of the defect in the handgun after the sale and
before the fatal event of March 25, 2000 yet made no effort to prevent same though under a duty
to do so. Such conduct is demonstrative of a conscious disregard for the care of others and gives

\

rise to a claim for._punitive damages

106.
Plaintiff demands RONALD RICHARDSON, as agent of GRAY HIGPIWAY PAWN,

INC. d/b/a Shurlington J'ewelry and Pawn pay punitive damages
WI-IEREFORE, Plaintiff prays for a trial before a jury and judgment as follows:

a) 'l`hat Plaintiff, as the Administrator of the Estate of William O. Bullard, IlI recover
compensatory damages, including medical bills, pain and suffering, funeral

expenses and other expenses in an amount to be determined at trial;
¢.

Page 53 of 55

Case 5:14-cv-OO431-WLS Document 1-1 Fi|§`d l12/‘11/1"4 Page 54 of 55

b) 'l` hat Plaintiff, as the mother of Williarn O. Bullard, lII, recover for the hill value
of the life of h`er son, William O. Bullard, III, in an.amount to e determined at

trial _;

c) That Plaintiff, as Administrator of the Esta_te of William O. Bullard, IlI, recover
Punitive and Exemplary damages of Defendant BRYCO ARMS, INC., BRYCO
ARMS, JENNH\lGS FIRJ:ARMS CALIFORNLA, JENNINGS FIREAR.MS
NEVADA, B.L. JENNINGS, INC., BRUCE L. JENN]_NGS, JANICE
JENNINGS, BR.ADLEY JENNI'NGS, KIMBERLY JENNINGS, RHONDA

n JENNINGS, Rl-IONDA JENN[NGS TRUST, KIMBERLY JENNINGS TRUST,
BRADLEY JENNINGS TRUST, and/or RKB in an amount sufficient to punish

and deter the defendant(s) from such wrongful conduct in the future and deter

others who Woul_d act similarly;

d) 1 That Plaintiff, as Administrator of the Estate of Williarn O. Bullard, III, recover
Punitive and Exemplary damages of Defendant RONALD RICHARDSON, as
agent of GRAY l-llGHWAY PAWN, INC. d/b/a Shurlington Jewelry and Pawn in z

an amount sufficient to punish and deter the defendant from such wronghil

conduct in the future and deter others who would act similarly;

e) That Plaintiff recover all costs of this litigation; and

Page 54 of 55

r1- -\_'

Case 5:14-cv-OO431-WLS Document 1-1 Filed12/11/14 agr;\t:

 

..~_;i .: rif alma

  

 

  

t) 'l'hat Plainti|l`reeeive such other and further relief as the Cuun deems just and
' propcr.
rhis che& day art)q$cemb¢r, 2001.
Attorney for Plaintitf
Georgia Bar No. 084050
_GRrsr re BRock, r.t.P
Suite 30l,. The Whittle Rnilding
915 Hill Park

Macon, Georgia 31201
(473) 741 _ 0024

Pagc 55 of 55

